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                         IN THE UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MISSOURI
                                   EASTERN DIVISION


Karen Cason                                    )
106 S. Springfield                             )
Cuba, MO 65453,                                )
                                               )
                    Plaintiff,                 )
                                               )      Case No. 4:10-cv-01405-CAS
vs.                                            )
                                               )
Northstar Location Services, LLC               )
                                               )
                                               )
                                               )
                    Defendant.                 )
                                 Notice of Settlement

        Plaintiff notifies the Court that the matter has been settled and requests the Court continue

the case for thirty days for stipulation for dismissal to be filed.



                                                   Respectfully submitted,


                                                    /s/ Steven R. White
                                                    _____________________________________
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